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     and Medley Opportunity Fund II LP
13
                               UNITED STATES BANKRUPTCY COURT
14
                                CENTRAL DISTRICT OF CALIFORNIA
15
                                          LOS ANGELES DIVISION
16

17    In Re:                                         Case No. 2:17-bk-22432-WB

18    POINT.360, a California corporation,           Chapter 11

19
                     Debtor.
20

21    Point.360, a California corporation, and the   Adv. No. 2:19-ap-01129-WB
      Committee of Creditors Holding
22    Unsecured Claims,
                                                     DEFENDANTS MEDLEY CAPITAL
23                          Plaintiffs,              CORPORATION AND MEDLEY
                                                     OPPORTUNITY FUND II LP’S ANSWER TO
24             vs.                                   FIRST AMENDED COMPLAINT
25    Medley Capital Corporation, a Delaware         Date: September 24, 2019
      corporation, Medley Opportunity Fund II,       Time: 2:00 p.m.
26    LP, a Delaware limited partnership,            Place: Courtroom 1375
                                                            U.S. Bankruptcy Court
27                          Defendants..                    255 E. Temple Street, 13th Floor
                                                            Los Angeles, CA 90012
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 1          Defendants Medley Capital Corporation and Medley Opportunity Fund II LP (collectively,

 2   “Medley”) submit this Answer in response to the First Amended Complaint for (1) Mandatory

 3   Subordination, (2) Objection to Claim, and (3) Lien Avoidance [ECF No. 18] (the “Complaint”) 1 in

 4   the above-captioned adversary proceeding, and respectfully state the following:

 5                STATEMENT OF JURISDICTION, PARTIES AND PROCEEDINGS

 6          1.      Medley admits the allegations contained in Paragraph 1.

 7          2.      Medley lacks knowledge or information sufficient to form a belief about the truth of

 8   the allegations in Paragraph 2, and therefore denies those allegations.

 9          3.      Medley admits the allegations contained in Paragraph 3.

10                                                 PARTIES

11          4.      Upon information and belief, Medley admits the allegations contained in Paragraph 4.

12          5.      Medley admits the allegations contained in the first sentence of Paragraph 5. Medley

13   denies the allegations contained in the second sentence of Paragraph 5.

14          6.      Medley admits the allegations contained in Paragraph 6.

15          7.      Medley admits the allegations contained in Paragraph 7.

16          8.      Medley admits the allegations contained in Paragraph 8.

17          9.      Medley admits the allegations contained in the first two sentences of Paragraph 9.

18   Medley assumes but has not independently verified that the copies attached to the request for judicial

19   notice are complete and correct. Accordingly, Medley lacks knowledge or information sufficient to

20   form a belief about the truth of the allegations contained in the third sentence of Paragraph 9, and

21   therefore denies those allegations.

22                                         FACTUAL BACKGROUND

23          10.     Medley lacks knowledge or information sufficient to form a belief about the truth of

24   the allegations contained in Paragraph 10, and therefore denies those allegations.

25          11.     Medley admits that it loaned funds to MVF in September 2012. No response is

26   required to the remaining allegations contained in Paragraph 11 because they amount to legal

27
     1
       Capitalized terms used and not otherwise defined herein should be given the meanings assigned in
28   the Complaint.



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 1   conclusions and because the parties’ loan agreement, as amended, speaks for itself. To the extent

 2   that a response is required, the remaining allegations contained in Paragraph 11 are denied.

 3          12.       No response is required to the allegations contained in Paragraph 12 because they

 4   amount to legal conclusions and because the parties’ loan agreement, as amended, speaks for itself.

 5   To the extent that a response is required, the allegations contained in Paragraph 12 are denied.

 6          13.       The allegations contained in Paragraph 13 amount to legal conclusions to which no

 7   response is required. To the extent that a response is required, the allegations contained in Paragraph

 8   13 are denied.

 9          14.       Medley lacks knowledge or information sufficient to form a belief about the truth of

10   the allegations contained in Paragraph 14, and therefore denies those allegations.

11          15.       Medley lacks knowledge or information sufficient to form a belief about the truth of

12   the allegations contained in Paragraph 15, and therefore denies those allegations.

13          16.       Medley admits that the Debtor was given access to a data room of MVF data and

14   financial information on March 4, 2015. Medley denies the remaining allegations contained in

15   Paragraph 16.

16          17.       Medley denies the allegations contained in Paragraph 17.

17          18.       Medley lacks knowledge or information sufficient to form a belief about the truth of

18   the allegations contained in Paragraph 18, and therefore denies those allegations.

19          19.       Medley lacks knowledge or information sufficient to form a belief about the truth of

20   the allegations contained in Paragraph 19, and therefore denies those allegations.

21          20.       Medley admits that a face-to-face meeting between representatives of the Debtor,

22   Medley, and Deloitte took place on or about March 26, 2015. Medley denies the remaining

23   allegations contained in Paragraph 20.

24          21.       Medley denies the allegations contained in Paragraph 21.

25          22.       Medley admits the allegations contained in the first sentence of Paragraph 22.

26   Medley denies the remaining allegations contained in Paragraph 23.

27          23.       Medley lacks knowledge or information sufficient to form a belief about the truth of

28   the allegations contained in Paragraph 23, and therefore denies those allegations.



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 1          24.       Medley lacks knowledge or information sufficient to form a belief about the truth of

 2   the allegations contained in Paragraph 24, and therefore denies those allegations.

 3          25.       Medley lacks knowledge or information sufficient to form a belief about the truth of

 4   the allegations contained in Paragraph 25, and therefore denies those allegations.

 5          26.       Medley admits that a term sheet was executed on May 20, 2015. No response is

 6   required to the remaining allegations contained in Paragraph 26 because the term sheet speaks for

 7   itself. To the extent that a response is required, the remaining allegations contained in Paragraph 26

 8   are denied.

 9          27.       Medley admits that on July 8, 2015, the Debtor and Medley executed and closed on

10   the Sale Agreement, the TLA, and the Security Agreement. Medley denies the remaining allegations

11   contained in Paragraph 27.

12          28.       Medley denies the allegations contained in Paragraph 28.

13          29.       The allegations contained in Paragraph 29 amount to a legal conclusion to which no

14   response is required. To the extent that a response is required, the allegations contained in Paragraph

15   29 are denied.

16          30.       No response is required to the allegations contained in Paragraph 30 because the Sale

17   Agreement speaks for itself. To the extent that a response is required, the allegations contained in

18   Paragraph 30 are denied.

19          31.       No response is required to the allegations contained in Paragraph 31 because the Sale

20   Agreement speaks for itself. To the extent that a response is required, the allegations contained in

21   Paragraph 31 are denied.

22          32.       No response is required to the allegations contained in Paragraph 32 because the Sale

23   Agreement speaks for itself. To the extent that a response is required, the allegations contained in

24   Paragraph 32 are denied.

25          33.       Medley denies the allegations contained in Paragraph 33.

26          34.       No response is required to the allegations contained in Paragraph 34 because the Sale

27   Agreement speaks for itself. To the extent that a response is required, the allegations contained in

28   Paragraph 34 are denied.



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 1          35.       The allegations contained in Paragraph 35 amount to a legal conclusion to which no

 2   response is required. To the extent that a response is required, the allegations contained in Paragraph

 3   35 are denied.

 4          36.       Medley denies the allegations contained in the first sentence of Paragraph 36. The

 5   allegations contained in the second sentence of Paragraph 36 amount to a legal conclusion to which

 6   no response is required. To the extent that a response is required, the allegations contained in the

 7   second sentence of Paragraph 36 are denied.

 8          37.       No response is required to the allegations contained in Paragraph 37 because the

 9   Term Loan Agreement speaks for itself. To the extent that a response is required, the allegations

10   contained in Paragraph 37 are denied.

11          38.       No response is required to the allegations contained in Paragraph 38 because the

12   Term Loan Agreement speaks for itself. To the extent that a response is required, the allegations

13   contained in Paragraph 38 are denied.

14          39.       The allegations contained in Paragraph 39 amount to a legal conclusion to which no

15   response is required. To the extent that a response is required, the allegations contained in Paragraph

16   39 are denied.

17          40.       No response is required to the allegations contained in Paragraph 40 because the

18   Term Loan Agreement speaks for itself. To the extent that a response is required, the allegations

19   contained in Paragraph 40 are denied.

20          41.       Medley lacks knowledge or information sufficient to form a belief about the truth of

21   the allegations in Paragraph 41, and therefore denies those allegations.

22          42.       Medley admits that Medley Capital Corporation hosted a quarterly-earnings call on

23   August 12, 2015. No response is required to the remaining allegations in Paragraph 42 because the

24   transcript of the quarterly-earnings call speaks for itself. To the extent that a response is required,

25   the allegations contained in Paragraph 42 are denied.

26          43.       Medley admits that the Debtor scheduled $4,235,547 in unsecured claims as of

27   October 10, 2017. Medley lacks knowledge or information sufficient to form a belief about the truth

28   of the remaining allegations in Paragraph 43, and therefore denies those allegations.



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 1           44.      Medley denies the allegations contained in the first sentence of Paragraph 44.

 2   Medley admits that the Debtor reported and/or recorded an operating loss in excess of $8.9 million

 3   during the 2016 fiscal year and an operating loss in excess of $9.9 million during the 2017 fiscal

 4   year. Medley lacks knowledge or information sufficient to form a belief about the truth of the

 5   remaining allegations in Paragraph 44, and therefore denies those allegations.

 6           45.      Medley admits the allegations contained in Paragraph 45.

 7                                         FIRST CLAIM FOR RELIEF

 8           46.      Medley incorporates by reference all responses contained in the foregoing paragraphs

 9   as if set forth fully herein.

10           47.      The allegations contained in Paragraph 47 amount to a legal conclusion to which no

11   response is required. To the extent that a response is required, the allegations contained in Paragraph

12   47 are denied.

13           48.      No response is required to the allegations contained in Paragraph 48 because the

14   Term Loan Agreement speaks for itself. To the extent that a response is required, Medley admits

15   that Paragraph 48 accurately quotes Section 1 of the TLA. The remaining allegations contained in

16   Paragraph 48 are denied.

17           49.      The allegations contained in Paragraph 49 amount to a legal conclusion to which no

18   response is required. To the extent that a response is required, the allegations contained in Paragraph

19   49 are denied.

20           50.      The allegations contained in Paragraph 50 amount to a legal conclusion to which no

21   response is required. To the extent that a response is required, the allegations contained in Paragraph

22   50 are denied.

23           51.      Medley denies the allegations contained in Paragraph 51.

24           52.      Medley denies the allegations contained in Paragraph 52.

25           53.      Medley lacks knowledge or information sufficient to form a belief about the truth of

26   the allegations in Paragraph 53, and therefore denies those allegations.

27           54.      Medley denies the allegations contained in Paragraph 54.

28           55.      Medley denies the allegations contained in Paragraph 55.



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 1           56.      Medley denies the allegations contained in Paragraph 56.

 2           57.      The allegations contained in Paragraph 57 amount to a legal conclusion to which no

 3   response is required. To the extent that a response is required, the allegations contained in Paragraph

 4   57 are denied.

 5           58.      The allegations contained in Paragraph 58 amount to a legal conclusion to which no

 6   response is required. To the extent that a response is required, the allegations contained in Paragraph

 7   58 are denied.

 8                                        SECOND CLAIM FOR RELIEF

 9           59.      Medley incorporates by reference all responses contained in the foregoing paragraphs

10   as if set forth fully herein.

11           60.      The allegations contained in Paragraph 60 amount to a legal conclusion to which no

12   response is required. To the extent that a response is required, the allegations contained in Paragraph

13   60 are admitted.

14           61.      The allegations contained in Paragraph 61 amount to a legal conclusion to which no

15   response is required. To the extent that a response is required, the allegations contained in Paragraph

16   61 are denied.

17           62.      Medley denies that Plaintiffs are entitled to the relief requested in Paragraph 62.

18                                        THIRD CLAIM FOR RELIEF

19           63.      Medley incorporates by reference all responses contained in the foregoing paragraphs

20   as if set forth fully herein.

21           64.      The allegations contained in Paragraph 64 amount to a legal conclusion to which no

22   response is required. To the extent that a response is required, the allegations contained in Paragraph

23   64 are admitted.

24           65.      The allegations contained in Paragraph 65 amount to a legal conclusion to which no

25   response is required. To the extent that a response is required, the allegations contained in Paragraph

26   65 are denied.

27           66.      Medley denies that Plaintiffs are entitled to the relief requested in Paragraph 66.

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 1          67.       Medley denies that Plaintiffs are entitled to the relief requested in the prayer for

 2   judgment.

 3                                        AFFIRMATIVE DEFENSES

 4          1.        The Complaint fails to state any cause of action upon which relief may be granted.

 5          2.        The Complaint is barred by res judicata and/or collateral estoppel, including, without

 6   limitation, the Court’s Order Confirming Debtor’s Second Amended Chapter 11 Plan as Modified

 7   [Case No. 2:17-bk-22432-WB, ECF No. 713].

 8          3.        The Complaint is barred, in whole or in part, by the doctrines of waiver, estoppel,

 9   and/or laches.

10          4.        The Complaint is barred, in whole or in part, by the doctrine of unclean hands.

11                                           PRAYER FOR RELIEF

12          WHEREFORE, Medley respectfully requests that the Court:

13                    (a)    enter judgment in Medley’s favor;

14                    (b)    deny all relief requested by Plaintiffs,

15                    (c)    award reasonable attorney’s fees and costs to Medley; and

16                    (d)    award Medley such other and further relief, in law and in equity, to which

17                           Medley may be justly entitled.

18   Dated: September 10, 2019                       WINSTON & STRAWN LLP
19
                                                     By: /s/ Justin E. Rawlins
20                                                       JUSTIN E. RAWLINS
                                                         CAREY D. SCHREIBER
21                                                       KATHERINE A. PRESTON
                                                         Attorneys for Defendants
22                                                       MEDLEY CAPITAL CORPORATION AND
                                                         MEDLEY OPPORTUNITY FUND II LP
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